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                                  UNITED STATES DISTRICT COURT
                                          District of Maine



                                                                      )
                                                                      )    Docket No. 1:15-cv-00091-JAW
  JOSEPH BELSKIS,                                                     )
                              Plaintiff                               )
                                                                      )
  v.                                                                  )
                                                                      )
  STATE OF MAINE BOARD OF CORRECTIONS,                                )
  THE COUNTY OF SOMERSET, MAINE MED PRO                               )
  ASSOCIATES, TERI THURLOW, THE UNITED                                )
  STATES MARSHAL SERVICE, ET AL,                                      )
                    Defendants                                        )
                                                                      )


         COUNTY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT WITH
                   INCORPORATED MEMORANDUM OF LAW

         NOW COME Defendants Somerset County, Barry Delong, Stephen Giggey, David Allen,

 Eligah Munn, Cory Swope, and Dale Lancaster, by and through undersigned counsel, and hereby

 move this honorable Court pursuant to Fed.R.Civ.P. 56 for summary judgment in their favor. Filed

 in connection with this motion is County Defendants’ Statement of Uncontested Material Facts

 pursuant to Local Rule 56(b).

                                          MEMORANDUM OF LAW

                                             I. INTRODUCTION

         Plaintiff alleges in the Complaint that he was denied medical care in violation of the Eighth

 Amendment and the Maine Civil Rights Act.1 Plaintiff alleges municipal liability on the part of



         1
           The Maine Civil Rights Act is co-extensive with civil rights claims brought pursuant to 42 U.S.C. § 1983.
 See Estate of Bennett v. Wainwright, 548 F.3d 155, 178 (1st Cir. 2008). Accordingly, there is no occasion for
 separate analysis of claims brought under the Maine Civil Rights Act.
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 Somerset County and individual liability against Somerset County employees Barry Delong, Stephen

 Giggey, David Allen, Eligah Munn, Cory Swope, and Dale Lancaster.

                                             II. FACTS

        The undisputed facts of this case are set forth in the County Defendants’ Statement of

 Material Facts (hereinafter “CDSMF ¶ ___”). These Defendants incorporate the CDSMF into this

 memorandum of law.

                                    III. LEGAL ARGUMENT

 A.     Standard of Review

        Summary judgment should be granted when the record evidence demonstrates “that there is

 no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 Fed.R.Civ.P. 56(a). The moving party bears the burden of demonstrating the lack of evidence to

 support the non-moving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317 (1986). The record is

 reviewed in the light most favorable to the non-moving party, and that party must be given the

 benefit of reasonable inferences drawn from properly asserted facts. See Nicolo v. Philip Morris,

 Inc., 201 F.3d 29 (1st Cir. 2000). Summary judgment should be entered “against a party who fails

 to make a showing sufficient to establish the existence of an element essential to that party’s case,

 and on which that party will bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322.

 B.     These Defendants are entitled to summary judgment on Plaintiff’s claims because he has not
        exhausted his administrative remedies under the Prison Litigation Reform Act.

        Under the Prison Litigation Reform Act (PLRA), “[n]o action shall be brought with respect

 to prison conditions under section 1979 of the Revised Statutes of the United States (42 U.S.C.

 1983), or any other Federal law, by a prisoner confined in any jail, prison, or other correctional



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 facility until such administrative remedies as are available are exhausted.” 42 U.S.C. §1997e(a).

 Exhaustion is not left to the discretion of the district court, but is mandatory. Booth v. Churner, 532

 U.S. 731, 739-741 (2001). A prisoner must also exhaust administrative remedies “even where the

 relief sought—monetary damages—cannot be granted by the administrative process.” Woodford v.

 Ngo, 548 U.S. 81, 85 (2006). “[E]xhaustion of available administrative remedies is required for any

 suit challenging prison conditions, not just for suits under §1983.” Id. Section 1997e(a) requires

 “proper exhaustion,” which means that a prisoner must complete the administrative review process

 in accordance with the applicable procedural rules, including deadlines, as a precondition to bringing

 suit in federal court. Id. at 89-93. A prisoner must exhaust all levels of the prison grievance process.

 See Johnson v. Thyng, 369 Fed. Appx 144, 147-48 (1st Cir. 2010). The exhaustion requirement

 applies even if the prisoner is transferred to a new facility. See Medina-Claudio v. Rodriguez-Mateo,

 292 F.3d 31, 35 (1st Cir. 2002).

        1.      Belskis did not exhaust his administrative remedies as required by the Somerset
                County Jail grievance procedure.

        In this case, the Somerset County Jail has a grievance procedure that requires that an

 inmate first file a Level 1 grievance. CDSMF,¶¶ 58, 59. If an inmate is not satisfied with the

 response to a Level 1 grievance, the inmate may file a Level 2 grievance. CDSMF,¶ 60. If an

 inmate is still not satisfied, after receiving a response to a Level 2 grievance, the inmate may file

 a grievance with the Maine Department of Corrections. CDSMF,¶ 61. Belskis only filed one

 Level 2 grievance related to issues with his foot. This grievance was dated February 14, 2013.

 CDSMF, ¶ 66. Belskis did not file any grievances with the Maine Department of Corrections

 concerning issues with his foot at the Somerset County Jail. CDSMF, ¶ 67. By failing to grieve



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 this issue to the Maine Department of Corrections, Belskis failed to exhaust his administrative

 remedies, and his claims are barred.

 C.       Defendants Barry Delong, Stephen Giggey, David Allen, Eligah Munn, Cory Swope, and
          Dale Lancaster are entitled to summary judgment on Plaintiff’s claims that they violated his
          Eighth Amendment rights by denying him medical care.

          Plaintiff claims that Delong, Giggey, Allen, Munn, Swope and Lancaster violated his Eight

 Amendment rights by denying him access to medical care which resulted in the amputation of his

 right little toe. If the court determines that these claims are not barred by the PLRA, these

 Defendants are entitled to summary judgment based on qualified immunity.

          Government officials who are performing discretionary functions are entitled to qualified

 immunity if their conduct does not violate clearly established rights of which a reasonable person

 would have known. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). The qualified immunity

 inquiry is a two part test. Pearson v. Callahan, 555 U.S. 223, 236 (2009); Maldonado v. Fontanes,

 568 F.3d 263, 268-69 (1st Cir. 2009). The first part of this inquiry considers whether the facts

 alleged show that the officer’s conduct violated a constitutional right.2 Saucier v. Katz, 533 U.S.

 194, 201 (2001). The second part of this inquiry is whether that right was clearly established. Id.

 The First Circuit recognizes that the second step of this inquiry has two aspects. Maldonado, 568

 F.3d at 269. Under one aspect “the contours of the right must be sufficiently clear that a reasonable

 official would understand that what he is doing violates that right.” Saucier, 533 U.S. at 202. The

 second aspect is “whether a reasonable official, situated similarly to the defendants, would have

 understood that the conduct at issue contravened the clearly established law.” Savard v. Rhode



          2
             While the sequence for analyzing qualified immunity, which was outlined in Saucier is not mandatory, it is
 still the preferred method of analysis. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

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 Island, 338 F.3d 23, 27 (1st Cir. 2003) (citing Saucier, 533 U.S. at 202). This part of the inquiry

 involves evaluation of the facts of the case. Id.

        The concern of the immunity inquiry is to acknowledge that reasonable mistakes can
        be made as to the legal constraints on particular police conduct. It is sometimes
        difficult for an officer to determine how the relevant legal doctrine . . . will apply to
        the factual situation the officer confronts. An officer might correctly perceive all of
        the relevant facts but have a mistaken understanding as to whether a particular . . .
        [action] is legal in those circumstances. If the officer’s mistake as to what the law
        requires is reasonable, however, the officer is entitled to the immunity defense.

 Saucier, 533 U.S. at 205. The qualified immunity standard is very broad and protects “all but the

 plainly incompetent or those who knowingly violate the law.” Hunter v. Bryant, 502 U.S. 224, 229

 (1991). In this case, Defendants Delong, Giggey, Allen, Munn, Swope and Lancaster are entitled to

 qualified immunity because there was no constitutional violation and the right in question was not

 clearly established.

        A denial of medical care claim requires evidence of deliberate indifference to a serious

 medical need of the inmate. See Estelle v. Gamble, 429 U.S. 97, 104 (1976). Deliberate indifference

 means that “a prison official cannot be found liable under the Eighth Amendment for denying an

 inmate humane conditions of confinement unless the official knows of and disregards an excessive

 risk to inmate health or safety; the official must both be aware of facts from which the inference

 could be drawn that a substantial risk of serious harm exists, and he must also draw the inference.”

 Farmer v. Brennan, 511 U.S. 825, 837 (1994). Deliberate indifference requires “actual knowledge

 of impending harm, easily preventable.” Desrosiers v. Moran, 949 F.2d 15, 19 (1st Cir. 1991). This

 is a subjective test. Farmer, 511 U.S. at 837-839. “Even if prison officials know of a substantial

 risk to inmate health or safety but fail to prevent the harm, they ‘may be found free from liability if

 they respond reasonably to the risk.’” Giroux v. Somerset County, 178 F.3d 28, 32 (1999) (citing


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 Farmer, 511 U.S. at 844). When considering what constitutes a reasonable response the First Circuit

 has stated that “a reasonable response clearly defeats the claim of constitutional violation,” and

 “[c]onceivably, a response that was colorable and taken in good faith might still be enough to negate

 deliberate indifference even if it were inadequate from an objective standpoint (and thus negligent)

 . . .” Burrell v. Hampshire County, 307 F.3d 1, 8 (1st Cir. 2002).

        The Plaintiff cannot establish deliberate indifference. While he told jail staff that he needed

 his diabetic shoes, he admits that he did not tell jail staff why he needed the shoes or what the

 consequences of not having his shoes might be. CDSMF ¶¶ 39, 40. The Somerset County

 Defendants were not aware of the risk of not providing the Plaintiff with diabetic shoes. CDSMF

 ¶¶ 47-49. They did not have the subjective knowledge to support a finding of deliberate

 indifference.

        Furthermore, throughout his stay at the Somerset County Jail Belskis was seen frequently by

 medical staff. In fact, on the first day when Belskis arrived at the jail he was seen by a nurse who

 completed a medical screening form. CDSMF ¶¶ 5, 12. Belskis informed the nurse that he had

 diabetes, needed diabetic shoes, had prior amputations and she noted that he had a healed wound on

 one of his feet. CDSMF ¶¶ 13-15. The evidence establishes that Belskis was seen by a medical

 provider at the jail on November 5; December 4, 16, 18; every day between December 19 and

 January 10; and February 7. CDSMF ¶¶ 12, 20, 23, 24, 26, 30, 35. He was taken to see medical

 providers outside of the jail on December 28, January 10, 17, 18, 31 and February 15. CDSMF ¶¶

 27, 31, 32, 33, 34, 36.

        At the time Belskis arrived at the Somerset County Jail his feet were in good condition.

 CDSMF ¶ 15. He did not notice or inform medical staff of a problem with his foot until December


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 16, 2012. CDSMF ¶ 23. After that Belskis was seen by a physician’s assistant on December 18,

 2012, and then from December 19, 2012, through January 10, 2013, had daily dressing changes.

 CDSMF ¶ 26. Less than two weeks after reporting the concern about his toe, he was taken to see

 Bruce MacDonald at Pine Tree Orthotics for an assessment to see if he needed diabetic shoes.

 CDSMF ¶ 27. Bruce MacDonald did not have shoes in stock that would fit Belskis so they had to

 be made specially. CDSMF ¶ 29. Belskis had a mold of his foot made on January 17, 2013, and he

 received his new diabetic shoes on February 19, 2013. CDSMF ¶¶ 32, 37. All of these facts

 demonstrate that the jail staff responded reasonably to Belskis’s medical issues.

        Even if Belskis is somehow able to establish that a constitutional violation may have

 occurred with regard to the provision of medical care under the circumstances of this case, that right

 was not clearly established. It was not clearly established that Belskis was entitled to additional

 medical care above what he was offered under the circumstances. If Defendants were mistaken as

 to the constitutionality of their actions with regard to providing Belskis with medical care, the

 mistake was reasonable and a reasonable officer would not have believed that their actions were

 unlawful. For these reasons, these Defendants are entitled to summary judgment on Plaintiff’s claim

 that he was denied medical care.

 D.     The Somerset County Defendants are entitled to summary judgment on Plaintiff’s municipal
        and supervisory liability claims.

        1.      The Somerset County Defendants are Entitled to Summary Judgment Because There
                Were No Underlying Constitutional Violations.

        The Somerset County Defendants are not liable because there were no underlying

 constitutional violations. Where the Defendant officers “ha[ve] inflicted no constitutional harm,

 neither the municipality nor the supervisor can be held liable.” Wilson v. Town of Mendon, 294


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 F.3d 1, 6 (1st Cir. 2002). In this case, the individual Somerset County Defendants did not violate

 Belskis’s constitutional rights. See Section III(C) (discussing constitutionality of Delong, Giggey,

 Allen, Munn, Swope and Lancaster’s actions in the context of qualified immunity). For this

 reason, summary judgment should be granted in favor of the Somerset County Defendants on the

 municipal and supervisory liability claims.

        2.      The Policy, Customs and Practices at Issue in this Case are Constitutional.

         In order to establish governmental entity liability, the Plaintiff must either demonstrate that

 the unconstitutional actions of an employee were taken pursuant to an official policy which itself was

 unconstitutional, or that those actions resulted from a pattern or practice of widespread and pervasive

 unconstitutional conduct of which those with final decision-making authority knew or should have

 known, and yet done nothing to end the practice. See generally Monell v. Dept. of Soc. Servs. of New

 York, 436 U.S. 658, 690-91 (1978); Bordanaro v. McLeod, 871 F.2d 1151, 1156 (1st Cir.1989). In

 this case, Somerset County contracts with MedPro to provide medical care to inmates. CDSMF ¶

 56. The policies require nursing coverage during normal business hours with at least one health care

 staff member on call during non-business hours, thereby providing 24-hour coverage 7 days a week.

 CDSMF, ¶ 55. In addition, there is no evidence that there were any unconstitutional customs or

 practices at the Somerset County Sheriff’s Department at all, let alone such practices or customs that

 were so well settled and widespread that the Sheriff, as the sole final decision-maker, can be said to

 have had either actual or constructive knowledge of them. Belskis was seen frequently by medical

 providers and was taken out of the facility several times to see outside medical care providers. As

 such, Somerset County is entitled to summary judgment on this claim.




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         3. There is no basis for supervisory liability.

         “Supervisory liability may not be predicated upon a theory of respondeat superior. A

 supervisor may be found liable only on the basis of his own acts or omissions.” Febus-Rodriguez v.

 Betancourt-Lebron, 14 F.3d 87, 91-92 (1st Cir. 1994) (citations omitted). In order to prove

 supervisory liability there must be evidence of deliberate indifference. Camilo-Robles v. Hoyes, 151

 F.3d 1, 6-7 (1st Cir. 1998). Deliberate indifference requires a showing that “(1) [there was] a grave

 risk of harm, (2) the defendant [had] actual or constructive knowledge of that risk, and (3) [he]

 fail[ed] to take easily available measures to address the risk.” Id. The Plaintiff must also demonstrate

 that there was “a strong causal connection between the supervisor’s conduct and the constitutional

 violation.” Ramirez-Lluveras v. Rivera-Merced, 759 F.3d 10, 19 (1st Cir. 2014). “The showing of

 causation must be a strong one, as that requirement ‘contemplates proof that the supervisor's conduct

 led inexorably to the constitutional violation.’” Id. at 19-20 (citing Hegarty v. Somerset County, 53

 F.3d 1367, 1380 (1st Cir. 1995)).         “In addition, the supervisor must have notice of the

 unconstitutional condition said to lead to the claim.” Ramirez-Lluveras, 759 F.3d at 20. “A plaintiff

 may prove causation by showing a known history of widespread abuse sufficient to alert a supervisor

 to ongoing violations. However, proof of that sort must truly show widespread abuse; isolated

 instances of unconstitutional activity ordinarily are insufficient to show deliberate indifference.” Id.

 (citations and quotations omitted).

         In this case, the elements of deliberate indifference cannot be met. There is no evidence that

 Delong, Lancaster, Allen or Swope were aware of a risk of harm or that anything would have given

 them reason to believe that there was a risk of harm. CDSMF ¶¶ 39, 40, 47-49. Moreover, there is

 no evidence that there were “easily available measures” to address any risk of which Delong,


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 Lancaster, Allen or Swope may have known. Appropriate policies were already in place. CDSMF

 ¶¶ 51-55. There was a contract with MedPro to provide medical care to inmates and Belkis was seen

 frequently by medical providers. Furthermore, Delong, Lancaster, Allen, and Swope are entitled to

 qualified immunity because it was not clearly established that under the circumstances their actions

 would violate Belskis’s constitutional rights. For these reasons, Delong, Lancaster, Allen, and

 Swope are entitled to summary judgment on this claim.

                                       IV. CONCLUSION

        For all of the foregoing reasons, the County Defendants ask the Court to enter summary

 judgment in their favor pursuant to Fed.R.Civ.P. 56 on Plaintiff’s Complaint.


 Dated: November 21, 2016                             _____________________________________
                                                      Peter T. Marchesi, Esq.


                                                      ____________________________________
                                                      Cassandra S. Shaffer, Esq.

                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Somerset County Defendants
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376




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                            UNITED STATES DISTRICT COURT
                                    District of Maine



                                                            )
                                                            )   Docket No. 1:15-cv-00091-JAW
  JOSEPH BELSKIS,                                           )
                          Plaintiff                         )
                                                            )
  v.                                                        )
                                                            )
  STATE OF MAINE BOARD OF CORRECTIONS,                      )
  THE COUNTY OF SOMERSET, MAINE MED PRO                     )
  ASSOCIATES, TERI THURLOW, THE UNITED                      )
  STATES MARSHAL SERVICE, ET AL,                            )
                    Defendants                              )
                                                            )

                                 CERTIFICATE OF SERVICE

        I, Peter T. Marchesi, Esq., attorney for the Somerset County Defendants, hereby certify that:

        !      County Defendants’ Motion for Summary Judgment

 has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
 which will send notification of such filing(s) to the following:

               Michael Saucier, Esq. (msaucier@thompsonbowie.com)

        Copies of the above documents have been provided to the Plaintiff via United States Mail,
 postage prepaid, at the following address:

               Joseph Belskis
               c/o Pharos House
               5 Grant Street
               Portland, ME 04101

 Dated: November 21, 2016
                                                      Peter T. Marchesi, Esq.
                                                      Attorney for Somerset County Defendants
                                                      Wheeler & Arey, P.A.
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376

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